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10                            UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12                                  WESTERN DIVISION
13
14   UNITED STATES OF AMERICA,                       Case No. 2:23-cr-00047-JLS-1
15               Plaintiff,                          [PROPOSED] ORDER FOR
                                                     MENTAL COMPETENCY
16         v.                                        EVALUATION
17   THOMAS VINCENT GIRARDI,
18               Defendant.
19
20         The Court has read and considered the parties’ Ex Parte Application for Order
21   for Mental Competency Evaluation, filed by the defendant THOMAS VINCENT
22   GIRARDI (“defendant”) in this matter on March 13, 2023, which this Court
23   incorporates by reference into this order, and FOR GOOD CAUSE SHOWN the Court
24   hereby FINDS AND ORDERS as follows:
25         1.    On January 31, 2023, defendant was indicted with five counts of wire
26   fraud, in violation of 18 U.S.C. § 1343. On February 6, 2023, defendant made his initial
27   appearance before the Honorable Karen L. Stevenson, United States Magistrate Judge.
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1            2.    On February 3, 2023, defendant filed an ex parte application for
2    determination of competency pursuant to 18 U.S.C. § 4241(a), requesting that the Court
3    order an examination pursuant to § 4241(b). (Dkt. 19.)
4            3.    On February 6, 2023, Judge Stevenson found reasonable cause to believe
5    that defendant may be presently suffering from a mental disease or defect rendering
6    defendant mentally incompetent and ordered the parties to meet and confer regarding
7    the examination, briefing and subsequent hearing regarding defendant’s competency.
8    (Dkt. 20.) Judge Stevenson’s order further required the parties to submit a stipulation
9    and proposed order related to the competency determination for this Court’s review.
10   (Id.)
11           4.    The Court hereby incorporates Judge Stevenson’s findings here and,
12   accordingly, and orders that each party will retain their own expert to conduct a
13   psychiatric or psychological examination of defendant to determine his competency to
14   stand trial pursuant to 18 U.S.C. §§ 4241 and 4247(b), (c). The question at issue is
15   whether the defendant is presently suffering from a mental disease or defect rendering
16   him mentally incompetent to the extent that he is unable to understand the nature and
17   consequences of the proceedings against him, or to assist properly in his defense. See
18   18 U.S.C. § 4241(a).
19                 b.    The psychiatric or psychological examination of the defendant by
20           the Government’s expert will proceed as follows:
21                       i.     The Government’s expert shall coordinate with Mr. Girardi’s
22                 conservator, Robert Girardi, to schedule the examination. Robert Girardi,
23                 through coordination with the administrator of the elder care facility,
24                 defense counsel, and the Government’s expert, will ensure that the facility
25                 has a suitable private space to conduct the examination.
26                       ii.    The examination may take place virtually (via video
27                 conferencing capability or similar mechanism) or in person, at the election
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1              of the Government’s expert, provided the examination takes place where
2              Mr. Girardi’s resides at the elder care facility.
3                     iii.   The expert will not conduct any personality testing of
4              Mr. Girardi, including but not limited to the MMPI-2.
5                     iv.    The expert may conduct the examination with no part of the
6              examination exceeding (4) hours total per day.
7                     v.     Mr. Girardi’s agreement to the evaluation by the Government
8              expert does not constitute a waiver of his Fifth Amendment privilege as to
9              the alleged offenses at issue in this case or any other offense. The
10             government’s expert will not opine on whether defendant had the requisite
11             mens rea for criminal culpability. To alleviate any concern that the
12             prosecution team will be exposed to any privileged information, counsel
13             for Mr. Girardi will have the opportunity to review the government
14             expert’s report prior to the report being provided to the government and
15             make any necessary redactions. The government reserves the right to
16             request in camera review of any disputed redactions.
17             c.     The defense will similarly conduct their own psychiatric or
18       psychological examination of defendant to determine his competency to stand
19       trial pursuant to 18 U.S.C. §§ 4241 and 4247(b),(c).
20             d.     Upon conclusion of the examinations, each party’s respective expert
21       shall supply a written report containing their assessment of defendant and
22       determination regarding whether defendant is competent to stand trial. Each
23       report shall include    (1) defendant’s history and present symptoms; (2) a
24       description of the psychiatric, psychological, and medical tests that were
25       employed and their results; (3) the experts’ respective findings; and (4) the
26       experts’ respective opinions as to diagnosis, prognosis, and (5) whether
27       defendant is suffering from a mental disease or defect rendering him mentally
28       incompetent to the extent that he is unable to understand the nature and
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1          consequences of the proceedings against him or to assist properly in his defense.
2                 e.    A copy of each report shall be filed with the Court under seal, with
3          copies provided to counsel for defendant and for the government no later than
4          May 26, 2023. The respective production of expert reports shall include the
5          production of any raw data obtained during the course of the examination and
6          interview to each party’s respective expert only.
7                 f.    Thereafter, defendant’s motion regarding competency is due by
8          June 16, 2023, the government’s opposition, if any, is due by July 7, 2023, and
9          any reply is due by July 21, 2023. The motion will be heard after the
10         competency hearing, which will occur on August 3, 2023, or as soon thereafter
11         as the Court is available. The parties, including defendant, as well as their
12         respective experts, are ordered to appear at that time.
13                g.    Each party’s designated expert, is permitted to view all produced
14         discovery, pleadings and filings, and other materials in this case.
15         5.     No statement made by a defendant in the course of any examination, no
16   testimony by the expert based on the statement, and no other fruits of the statement may
17   be admitted into evidence against the defendant in any criminal proceeding except on
18   an issue regarding mental condition on which the defendant has introduced evidence of
19   incompetency or evidence requiring notice under Federal Rules of Criminal Procedure
20   Rule 12.2(a) or (b)(1).
21         6.     In light of the delay resulting from the determination of defendant’s mental
22   competency and evaluation pursuant to § 4241(b), the parties agree that the time period
23   between February 6, 2023, the date Judge Stevenson issued her order regarding
24   defendant’s mental competency, and the date when this Court issues a final order on
25   ///
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1    defendant’s competency, inclusive, is excludable in computing the time within which
2    the trial must commence pursuant to 18 U.S.C. §§ 3161(h)(1)(A), (h)(1)(D), (h)(7)(A),
3    and (h)(7)(B)(i).
4    IT IS SO ORDERED.
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6
7    DATED:              , 2023
8                                         HONORABLE JOSEPHINE L. STATON
                                          United States District Judge
9    Presented by:
10   /s/ Craig A. Harbaugh
11   CRAIG A. HARBAUGH
     Deputy Federal Public Defender
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